                     Case 1:15-cv-01267-JKB Document 7 Filed 07/23/15 Page 1 of 4



                                     IN THE UNITED STATES DISTRICT COURT
                                        F'OR THE DISTRICT OF MARYLAND


TERRAN RUCKER                                                            ù

       Plaintiff,
                                                                         ù
                                                                                                              1:15-cv-01267 JKB
       v.                                                                                    Case No.
                                                                         *
BEST BUY CO., lNC. d/b/a BEST BUY

       Defendant.                                                        *

                                     DIS                   OF'CORPORATE INTR,REST


Check all that apply:

n      I certify,         as partylcounsel in this case that
                                                                                                       (name ofparty)


is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
partnership or other business entity, not a party to the case, has a financial interest in the outcome
of this litigation as defined in Local Rule 103'3 (D' Md').




                                                                              Best Buy Co., lnc
E      The following corporate affiliations exist with
                                                                                                          (name ofparty)



See attached list
                                                            (names of affiliates)




!      The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have aftnancial interest in the outcome of this litigation:


                                                (names ofentities with possible financial interests)




DisclosureCorplnterest (03/20 I 5)
             Case 1:15-cv-01267-JKB Document 7 Filed 07/23/15 Page 2 of 4
Disclosure of Cotporate Interest




n   In a case based on diversity jurisdiction, the following is a list of all members of

                                          and their states of citizenship:
           (name of LLC party)




           (name of member)                                             (state ofcìtizenship)




           (name of member)                                             (state ofcitizenship)




           (name of member)                                             (state ofcitizenship)




                                                                        (state ofcitizenship)
           lname of member)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet ofpaper.




July 23, 2015                                          /S/ William W. Carrier, lll

Date                                                   Signature
                                                       William W. Carrier,             lll      08453
                                                       Printed name and bar number
                                                       100 E, Pratt St., 26th Fl,, Baltímore, l{iD 21202

                                                       Address

                                                       wca   rr¡   er@tyd    i   n   gslaw. com
                                                       Email address
                                                        410.7 52.9721
                                                       Telephone number
                                                        410.727.5460
                                                       Fax number




                                                  2
            Case 1:15-cv-01267-JKB Document 7 Filed 07/23/15 Page 3 of 4




                                    BEST BUY CO..INC.
                             SCHEDULE OF OUALIFYING ENTITIES

All of the entities on this list are 100% directly or indirectly   owned and controlled subsidiaries of Best
Buy Co., Inc,

C ORPORATE      HEAD OUARTE        RS   :

Best Buy Enterprise Services, Inc.
7601 Penn Avenue South
Richfield, MN 55423

1.   6349021 Canada Ltd.
2,   BBC Insurance Agency Inc.
3.   BBC Investment Co.
4.   BBC Property Co.
5.   BBY (Mauritius I) Ltd.
6,   BBY (Mauritius II) Ltd.
7.   BBY (Mauritius III) Ltd.
8.   BBY Canada Finance, LLC
9.   BBY Global Connect (Mauritius I) Ltd.
10. BBY Global Connect (Mauritius IÐ Ltd.
I 1. BBY Holdings International, Inc.
12. BBY Networks, Inc,
13. BBY Services, Inc,
14. BBY Solutions, Inc.
15. Best Buy (AsiaPacifrc) Limited
16. Best Buy Asia Pacific Regional Holdings Limited
17. Best Buy Canada Ltd. / Magasins Best Buy LTEE
18. Best Buy China
19. Best Buy China Holdings, Ltd.
20. Best Buy China Ltd.
21. Best Buy China UK, LLP
22. BestBuy Co.,Inc. (PARENT COMPANY)
23. Best Buy Connect, LLC
24. BestBuy Distributions Limited
25. Best Buy Enterprise Services, Inc'
26. Best Buy Enterprises, S. de R.L' de C.V.
27. Best Buy Finance, Inc.
28. BestBuy Gov, LLC
29. BesIBuy Holdings B.V.
30. Best Buy Imports, S. de R.L. de C.V.
31. Best Buy Intemational Finance, S.a.r'l.
32. BestBuy Leasing, LLC
33. Best Buy Jiangsu, Ltd.
34. Best Buy Mobile (Nanjing) Management Consulting Co', Ltd.
35. Best Buy Puerto Rico Holdings, LLC
36. Best Buy Purchasing LLC
37, BestBuy Shanghai, Ltd.
38. Best Buy Stores Puerlo Rico LLC
            Case 1:15-cv-01267-JKB Document 7 Filed 07/23/15 Page 4 of 4



39, Best Buy Stores, L.P.
40. Best Buy Stores, S. de R.L. de C.V.
4l . Best Buy Warehousing Logistics, Inc.
42. BestBuy.com, LLC
43. CCL Insurance Company
44. CP Gal Richfield, LLC
45. CPW Mobile Limited
46. CPWCO 16 Limited
41. ExB Hong Kong Limited
48. Five Star Trust
49. FutureGard Reinsurance Ltd.
50. Global Connect China
51. Magnolia Hi-Fi, LLC
52. New CPWM Limited
53. Nichols Distribution, LLC
54. Oval (2248) Limited
55. Pacif,rc Sales Kitchen and Bath Centers, LLC
56. Partsearch Technologies, Inc.
57. Project Jaguar, Inc.
58. ProTheoIII, LLC
59. ProTheoIV, LLC
60. ProTheov, LLC
61. ProTheo, Inc.
62. Retspan, LLC
63. Reþsan Deutschland GmbH
64. Talkback, Inc.
